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                                                           1
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                                                           6
                                                               Attorneys for Richard M. Pachulski, Chapter 11 Trustee
                                                           7

                                                           8                                  UNITED STATES BANKRUPTCY COURT

                                                           9                                   CENTRAL DISTRICT OF CALIFORNIA

                                                          10                                            LOS ANGELES DIVISION

                                                          11   In re:                                                     Case No. 2:17-bk-19548-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12   LAYFIELD & BARRETT, APC,                                   Chapter 11

                                                          13                                     Debtor.                  MOTION FOR ORDER (1) AUTHORIZING
                                LOS ANGELES, CALIFORNIA




                                                                                                                          SALE OF REAL PROPERTY FREE AND
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                                                          14                                                              CLEAR OF ALL LIENS, CLAIMS AND
                                                                                                                          ENCUMBRANCES PURSUANT TO 11 U.S.C.
                                                          15                                                              §§ 363(B) AND (F); (2) APPROVING BUYER
                                                                                                                          AS GOOD-FAITH PURCHASER
                                                          16                                                              PURSUANT TO 11 U.S.C. § 363(M); AND (3)
                                                                                                                          AUTHORIZING PAYMENT OF
                                                          17                                                              UNDISPUTED LIENS AND OTHER
                                                                                                                          ORDINARY COSTS OF SALE;
                                                          18                                                              MEMORANDUM OF POINTS AND
                                                                                                                          AUTHORITIES AND DECLARATIONS OF
                                                          19                                                              RICHARD M. PACHULSKI AND RANDAL
                                                                                                                          RUPERT IN SUPPORT THEREOF
                                                          20
                                                                                                                          [2720 Homestead Road, Units 210, and 220, Park
                                                          21                                                              City, Utah 84098]

                                                          22
                                                                                                                          Date:      April 2, 20191
                                                          23                                                              Time:      2:00 p.m.
                                                                                                                          Place:     United States Bankruptcy Court
                                                          24                                                                         Edward R. Roybal Federal Building
                                                                                                                                     255 E. Temple Street, Ctrm. 1545
                                                          25                                                                         Los Angeles, California 90012
                                                                                                                          Judge:     Honorable Neil W. Bason
                                                          26

                                                          27   1
                                                                Hearing date and time scheduled and order shortening time granted during hearing on related matter conducted on
                                                               March 5, 2019.
                                                          28


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                                                               TO THE HONORABLE NEIL W. BASON, UNITED STATES BANKRUPTCY JUDGE;
                                                           2
                                                               THE OFFICE OF THE UNITED STATES TRUSTEE; AND OTHER PARTIES IN
                                                           3
                                                               INTEREST:
                                                           4
                                                                          Richard M. Pachulski, the chapter 11 trustee (the “Trustee”) of the bankruptcy estate (the
                                                           5
                                                               “Estate”) of Layfield & Barrett, APC (the “Debtor” or “L&B”), hereby moves (the “Motion”) this
                                                           6
                                                               Court for entry of an order (1) authorizing him to sell real property commonly known as Units 210
                                                           7
                                                               and 220 of Toll Creek Village 2 (Parcel Nos. TCVC-2-210 and TCVC-2-220), an office
                                                           8
                                                               condominium located at 2720 Homestead Road, Park City, Utah 84098 (the “Property”), to
                                                           9
                                                               Allegretti & Company (the “Buyer”) free and clear of all liens, claims and encumbrances pursuant to
                                                          10
                                                               sections 363(b) and (f) of the Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”);
                                                          11
                                                               (2) approving the Buyer as a good faith purchaser pursuant to section 363(m) of the Bankruptcy
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                                                          12
                                                               Code; and (3) authorizing the payment of undisputed liens and other ordinary costs of sale. In
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                               support of the Motion, the Trustee submits the memorandum of points and authorities and the
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                                                          14
                                                               declarations of Richard M. Pachulski and Randal Rupert annexed hereto,2 and respectfully represents
                                                          15
                                                               as follows:
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                                                               2
                                                                   A declaration of the authorized representative of the Buyer shall be submitted prior to the hearing regarding the Motion.
                                                          28

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                                                           1
                                                                                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                           2
                                                                                                                          I.
                                                           3
                                                                                                                INTRODUCTION
                                                           4
                                                                        By this Motion, the Trustee is seeking authority to sell two office suites, Suites 210 and 220,
                                                           5
                                                               located at Toll Creek Village 2, an office condominium complex located at 2720 Homestead Road,
                                                           6
                                                               Park City, Utah 84098. Through fraudulent transfer litigation, the Trustee recovered the Property,
                                                           7
                                                               another suite at Toll Creek Village 2 (Suite 200, collectively, with the Property, the “Office Suites”))
                                                           8
                                                               that was the subject of a prior sale authorized by the Court which closed on February 22, 2019, and a
                                                           9
                                                               storage unit (the “Storage Unit”), all of which previously were transferred by Philip Layfield
                                                          10
                                                               (“Layfield”), the Debtor’s former principal, from the Debtor to an entity under his control. After
                                                          11
                                                               being marketed by the Trustee’s broker over the past six months, the Trustee has accepted an offer to
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                                                          12
                                                               purchase Suites 210 and 220, subject to approval by this Court.
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                                                                                         II.
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                                                          14
                                                                                                          STATEMENT OF FACTS
                                                          15
                                                               A.       The Commencement of the Bankruptcy Case and Appointment of the Trustee
                                                          16
                                                                        On August 3, 2017, petitioning creditors The Dominguez Firm, a law firm that previously
                                                          17
                                                               has referred matters to the Debtor, and Mario Lara, Nayazi Reyes and Maria A. Rios, each a former
                                                          18
                                                               client of the Debtor (the “Petitioning Creditors”), filed an involuntary petition for relief under
                                                          19
                                                               chapter 7 of the Bankruptcy Code against L&B, commencing the above-captioned bankruptcy case
                                                          20
                                                               (the “Case”). That same day, the Petitioning Creditors filed an Emergency Motion for Appointment
                                                          21
                                                               of an Interim Trustee Under 11 U.S.C. § 303(g) and Granting Emergency Relief [Docket No. 3]3 (the
                                                          22
                                                               “Trustee Motion”). In the Trustee Motion, the Petitioning Creditors asserted, among other
                                                          23
                                                               allegations, that “[s]ettlement proceeds have not been distributed and may no longer exist, vendors
                                                          24
                                                               and other creditors have not been paid and clients are effectively unrepresented in some 80 pending
                                                          25
                                                               cases,” and that, consequently, the appointment of a trustee is “essential to protect and preserve
                                                          26

                                                          27   3
                                                                Pursuant to Rule 201 of the Federal Rules of Evidence, the Trustee respectfully requests that the Court take judicial
                                                               notice of all pleadings, orders and other matters of public record reflected in the Court’s own docket.
                                                          28

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                                                               property of the … estate and to prevent concealment, waste, loss or conversion of the assets of the
                                                           2
                                                               estate ….” Trustee Motion at 1.
                                                           3
                                                                       In response to the Trustee Motion, the Debtor filed a Motion to Convert Case Under 11
                                                           4
                                                               U.S.C. §§ 706(a) or 1112(a) on August 8, 2017 [Docket No. 19] (the “Conversion Motion”), seeking
                                                           5
                                                               to convert the Case to one under chapter 11 of the Bankruptcy Code. The Court entered orders
                                                           6
                                                               granting the Conversion Motion [Docket No. 25], and denying the Trustee Motion [Docket No. 24].
                                                           7
                                                                       On August 16, 2017, the Debtor, Petitioning Creditors, and secured creditor, Advocate
                                                           8
                                                               Capital, Inc. (“Advocate Capital”), entered into a Stipulation for the Appointment of a Chapter 11
                                                           9
                                                               Trustee [Docket No. 38], which the Court approved by order on August 17, 2017 [Docket No. 42].
                                                          10
                                                                       On August 21, 2017, the United States Trustee (the “UST”) filed its Notice of Appointment of
                                                          11
                                                               Chapter 11 Trustee, appointing Richard M. Pachulski as Chapter 11 Trustee in the Case [Docket No.
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                                                          12
                                                               51]. Also on August 21, 2017, the UST filed an Application for Order Approving Appointment of
                                                          13
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                                                               Chapter 11 Trustee [Docket No. 53], which application was granted by the Court’s order entered the
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                                                          14
                                                               following day [Docket No. 56].
                                                          15
                                                                       On August 28, 2017, the Trustee filed his Acceptance of Appointment as Chapter 11 Trustee
                                                          16
                                                               [Docket No. 63].
                                                          17
                                                               B.      Wells Fargo Bank Motions for Relief from Stay
                                                          18
                                                                       On November 21, 2017, Wells Fargo Bank, National Association (“WFB”), filed motions for
                                                          19
                                                               relief from the automatic stay with respect to the Office Suites, including the Property [Docket No.
                                                          20
                                                               143] (“WFB RFS Motion”), Suite 200 [Docket No. 144], as well as another property located in
                                                          21
                                                               Arizona [Docket No. 142]. In the WFB RFS Motion, WFB asserted a total claim against the
                                                          22
                                                               Property of $223,205.00, another encumbrance on the Property arising from condominium
                                                          23
                                                               association fees in the amount of $2,170.00, and a fair market value of $300,000.00. The hearing
                                                          24
                                                               regarding the WFB RFS Motion has been continued from time to time and currently is set to be
                                                          25
                                                               heard at the same date and time as the hearing regarding this Motion.
                                                          26

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                                                               C.      The Recovery and Revesting of the Property in the Estate
                                                           2
                                                                       On April 7, 2017, Layfield, in his stated capacity as President of L&B, executed quitclaim
                                                           3
                                                               deeds transferring the title to the Office Suites (the “Transfers”) to Layfield V, LLC (“Layfield V”),
                                                           4
                                                               an entity owned by Layfield.
                                                           5
                                                                       On or about February 22, 2018, in order to avoid the Transfers and recover the Office Suites
                                                           6
                                                               for the benefit of the Estate, the Trustee filed a complaint in this Court for the avoidance of
                                                           7
                                                               fraudulent transfers and unjust enrichment against Layfield and Layfield V (together, the
                                                           8
                                                               “Defendants”), commencing an adversary proceeding bearing adversary number 2:18-ap-01050-NB
                                                           9
                                                               (the “Adversary Proceeding”). The Defendants failed to respond to the Adversary Proceeding. The
                                                          10
                                                               Chapter 11 Trustee then requested an entry of default against each of the Defendants [AD Docket
                                                          11
                                                               Nos. 4 and 5]. On March 29, 2018, the Clerk of this Court entered defaults against both Defendants
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                                                          12
                                                               [AD Docket Nos. 6 and 7]. On May 1, 2018, Plaintiff filed a Motion for Default Judgment Under
                                                          13
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                                                               LBR 7055-1 (the “Default Judgment Motion”) against Layfield and Layfield V [AD Docket No. 12].
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                                                          14
                                                               On May 25, 2018, this Court granted the Default Judgment Motion and entered a default judgment
                                                          15
                                                               (the “Judgment”) against both Defendants, and in favor of the Plaintiff [AD Docket No. 17] in the
                                                          16
                                                               Adversary Proceeding, resulting in the avoidance of the Transfers and the re-vesting of the Property
                                                          17
                                                               in L&B’s bankruptcy estate.4
                                                          18
                                                               D.      The Employment of the Broker and Marketing of the Property
                                                          19
                                                                       On July 30, 2018, the Trustee filed an Application for an Order Authorizing and Approving
                                                          20
                                                               the Employment of KW Park City Keller Williams Real Estate to Market and Sell Real Property in
                                                          21
                                                               Park City, Utah [Docket No. 310] (the “Utah Broker Employment Application”), pursuant to which
                                                          22
                                                               the Trustee sought to employ KW Park City Keller Williams Real Estate (“KW”) as brokers to
                                                          23
                                                               market and sell the Property. On August 21, 2018, this Court granted the Utah Broker Employment
                                                          24
                                                               Application.
                                                          25

                                                          26   4
                                                                After determining that the Storage Unit is separately parceled in the Summit County, Utah, property records (Parcel
                                                               No. TCVC-A-2AM), the Trustee and the chapter 7 trustee of the Layfield bankruptcy estate entered into a stipulation
                                                          27   [AD Docket Nos. 38, 39] agreeing that judgment should be entered in the Adversary Proceeding revesting title to the
                                                               Storage Unit in the L&B Estate [AD Docket No. 40].
                                                          28

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                                                                       In order to market the Office Suites, KW listed them on the predominant listing platforms for
                                                           2
                                                               the Park City, Utah, commercial market (Park City MLS; UtahRealEstate.com) as well as CoStar’s
                                                           3
                                                               national commercial listing service, provided tours of the premises, and, to date, has interacted
                                                           4
                                                               substantively with approximately 18 prospective buyers and/or their agents regarding the potential
                                                           5
                                                               sale of one or more of the Office Suites (and the Storage Unit). KW also provided potential buyers
                                                           6
                                                               and their representatives with a general term sheet that provides guidance to those parties as to sale
                                                           7
                                                               terms that would be preferred by the Trustee and to assist them in understanding the bankruptcy
                                                           8
                                                               sales process.
                                                           9
                                                                       On February 5, 2019, the Court approved, and on February 22, 2019, the Trustee closed, a
                                                          10
                                                               sale transaction relating to Suite 200.
                                                          11
                                                               E.      The Buyer’s Offer
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                                                          12
                                                                       As a result of KW’s marketing of the Property, on March 5, 2019, the Trustee and Buyer
                                                          13
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                                                               entered into a Purchase and Sale Agreement for Commercial Real Estate, as amended by addenda
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                                                          14
                                                               numbered 1 and 2 (the “PSA”). Among other terms, the PSA provides for the sale of the Property to
                                                          15
                                                               the Buyer for a purchase price of $275,000.00 “subject to … higher and better bids through and
                                                          16
                                                               including the hearing to approve the sale.” A true and correct copy of the PSA is attached hereto as
                                                          17
                                                               Exhibit “A”.
                                                          18
                                                                       Although the Trustee previously had received offers to acquire all of the Office Suites and
                                                          19
                                                               the Storage Unit together, such offers: (i) were insufficient in amount to provide material benefit to
                                                          20
                                                               the Estate; (ii) expired or were withdrawn after one or more counteroffers were exchanged; (iii) were
                                                          21
                                                               from potential buyers who included unacceptable contingencies in their offers or who presented a
                                                          22
                                                               risk of closing a transaction in a timely manner; and/or (iv) were not acceptable for other reasons.
                                                          23
                                                               Consequently, the Trustee also entertained separate offers for individual Office Suites, leading to the
                                                          24
                                                               consummation of the sale of Suite 200 last month.
                                                          25
                                                               F.      The Trustee’s Arrangements with Lienholders
                                                          26
                                                                       Two parties assert liens against the Property: WFB and the office condominium owners’
                                                          27
                                                               association, Toll Creek Village Owners Association (“TCVOA”). In considering the Buyer’s offer
                                                          28
                                                               to purchase the Property, the Trustee determined that satisfying the face amount of such asserted

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                                                               liens, together with taxes, brokers’ commissions and other customary costs of sale, likely would
                                                           2
                                                               result in minimal or no net proceeds payable to the Estate. Accordingly, at the hearing regarding the
                                                           3
                                                               WFB RFS Motion conducted on March 5, 2019, counsel for the Trustee and WFB advised the Court
                                                           4
                                                               that they had entered into an arrangement in respect of the proposed transaction with the Buyer,
                                                           5
                                                               subject to facilitation by the Court, whereby WFB agreed to a discounted pay-off amount in
                                                           6
                                                               exchange for the imposition of certain deadlines and conditions and the setting of a hearing
                                                           7
                                                               regarding this Motion on shortened time. Subsequent to the hearing and prior to the filing of this
                                                           8
                                                               Motion, the Trustee entered into an agreement with TCVOA also to accept a discounted pay-off
                                                           9
                                                               amount on account of its asserted lien.
                                                          10
                                                                       As a result of these arrangements, the proposed sale of the Property to the Buyer has the
                                                          11
                                                               consent of the parties asserting liens against the Property, creates a net benefit to the Estate and is in
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                                                          12
                                                               the best interests of the Estate and its creditors.
                                                          13
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                                                                                                                     III.
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                                                          14
                                                                                                             ARGUMENT
                                                          15
                                                               A.      The Trustee May Sell Property of the Estate Pursuant to 11 U.S.C. § 363(b)
                                                          16
                                                                       11 U.S.C. § 363(b) empowers a trustee to “use, sell or lease . . . other than in the ordinary
                                                          17
                                                               course of business, property of the estate.” In considering a proposed transaction to use, sell, or
                                                          18
                                                               lease, courts look at whether the transaction is in the best interests of the estate based on the facts
                                                          19
                                                               and history of the case. In re America West Airlines, 166 B.R. 908, 912 (Bankr. D. Ariz. 1994)
                                                          20
                                                               (citing In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983)). This requires examination of the
                                                          21
                                                               “business justification” for the proposed sale. In re 240 North Brand Partners, Ltd., 200 B.R. 653
                                                          22
                                                               (B.A.P. 9th Cir. 1996); In re Wilde Horse Enterprises, Inc., 136 B.R. 830 (Bankr. C.D. Cal. 1991);
                                                          23
                                                               In re Ernst Home Center, Inc., 209 B.R. 974 (Bankr. W.D. Wash. 1997).
                                                          24
                                                                       In approving any sale outside the ordinary course of business, there must be a sufficient
                                                          25
                                                               business reason for the sale and it must be in the best interest of the estate. Here, the proposed
                                                          26
                                                               transaction has the legitimate business justification of satisfying claims against and providing value
                                                          27
                                                               to the Estate. Also, as set forth in the PSA, the sale is subject to overbids, permitting the Trustee to
                                                          28
                                                               consider potentially higher and better offers up to the time of the hearing regarding the Motion,

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                                                               thereby further ensuring that the resulting sale of the Property will be at the highest and best price
                                                           2
                                                               and be in the best interest of the Estate.
                                                           3
                                                               B.      The Trustee May Sell the Property Free and Clear of Liens, Claims and Interests
                                                           4
                                                                       The Trustee seeks authority to sell the Property free and clear of all liens and encumbrances
                                                           5
                                                               pursuant to section 363(f) of the Bankruptcy Code, which provides:
                                                           6
                                                                                The Trustee may sell property under subsection (b) or (c) of this
                                                           7                    section free and clear of any interest in such property of an entity other
                                                                                than the estate, only if -
                                                           8
                                                                                (1)     applicable nonbankruptcy law permits sale of such property
                                                           9                    free and clear of such interest;
                                                          10                    (2)         such entity consents;
                                                          11                    (3)    such interest is a lien and the price at which such property is to
                                                                                be sold is greater than the aggregate value of all liens on such
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                                                          12                    property;
                                                          13
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                                                                                (4)         such interest is in bona fide dispute; or
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                                                          14                    (5)    such entity could be compelled, in a legal or equitable
                                                                                proceeding, to accept a money satisfaction of such interest.
                                                          15

                                                          16
                                                               11 U.S.C. § 363(f). Because subsections (1) through (5) of Bankruptcy Code § 363(f) are written in
                                                          17
                                                               the disjunctive, authority to sell the Property free and clear of any and all interests therein should be
                                                          18
                                                               granted if any of the conditions are met with respect to each interest holder.
                                                          19
                                                                       With respect to the proposed sale of the Property to the Buyer, all liens asserted against the
                                                          20
                                                               Property will attach to the net proceeds of the sale with the same validity, enforceability, and
                                                          21
                                                               priority, if any, as existed with respect to the assets sold as of the date of the commencement of this
                                                          22
                                                               chapter 11 Case and be paid through the proposed transaction. The purchase price proposed by the
                                                          23
                                                               Buyer exceeds the aggregate amount of liens asserted against the Property. Also, both lienholders
                                                          24
                                                               are consenting to and are accepting discounted pay-offs in connection with the proposed sale.
                                                          25
                                                               C.      The Buyer Should Be Deemed a “Good Faith Purchaser” Pursuant to 11 U.S.C.
                                                          26           § 363(m)

                                                          27           Section 363(m) of the Bankruptcy Code provides:

                                                          28                    The reversal or modification on appeal of an authorization under
                                                                                subsection (b) or (c) of this section of a sale or lease of property does
                                                                                                                    7
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                                                                             not affect the validity of a sale or lease under such authorization to an
                                                           2                 entity that purchased or leased such property in good faith, whether or
                                                                             not such entity knew of the pendency of the appeal, unless such
                                                           3                 authorization and such sale or lease were stayed pending appeal.
                                                               11 U.S.C. § 363(m).
                                                           4
                                                                       A good faith buyer “is one who buys ‘in good faith’ and ‘for value.’” Ewell v. Diebert (In re
                                                           5
                                                               Ewell), 958 F.2d 276, 281 (9th Cir. 1992) (citing In re Abbotts Dairies of Pennsylvania, Inc., 788
                                                           6
                                                               F.2d 143, 147 (3d Cir. 1986)). “[L]ack of good faith is [typically] shown by ‘fraud, collusion
                                                           7
                                                               between the purchaser and other bidders or the trustee, or an attempt to take grossly unfair advantage
                                                           8
                                                               of other bidders.’” Id. (quoting Community Thrift & Loan v. Suchy (In re Suchy), 786 F.2d 900, 902
                                                           9
                                                               (9th Cir. 1985)). Here, the Trustee has not been made aware of any connection between the Buyer or
                                                          10
                                                               his broker, on the one hand, and the Trustee, his professionals, the Debtor or its insiders, on the other
                                                          11
                                                               hand. Negotiations regarding the sale of the Property have taken place at arm’s-length directly
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                                                          12
                                                               between KW and the broker for the Buyer. Moreover, the sale will be conducted in a commercially
                                                          13
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                                   ATTORNEYS AT LAW




                                                               reasonable manner, subject to overbids, following appropriate notice. In connection with this
                                                          14
                                                               Motion, the Trustee will submit a declaration of the Buyer’s authorized representative disclosing
                                                          15
                                                               connections, if any, between the Buyer and parties in interest. Based on such facts and
                                                          16
                                                               circumstances, the Trustee believes that this Court can properly determine the Buyer as a “good faith
                                                          17
                                                               purchaser” pursuant to 11 U.S.C. § 363(m).
                                                          18
                                                               D.      Adequate Notice of the Sale
                                                          19
                                                                       As discussed at the March 5 hearing regarding the WFB RFS Motion, the Trustee is
                                                          20
                                                               providing notice of the sale to a limited number of parties designated by the Court: the Office of the
                                                          21
                                                               United States Trustee, all parties receiving ECF and special notice in this Case, all parties asserting
                                                          22
                                                               an interest in the Property, Layfield and the chapter 7 trustee appointed in Layfield’s bankruptcy
                                                          23
                                                               case, as well as to parties who previously have expressed an interest in purchasing the Property.
                                                          24
                                                               Further, the proposed sale of the Property to the Buyer is subject to overbids, and the ability of other
                                                          25
                                                               potentially interested parties to provide competing offers for the Property ensures that the proposed
                                                          26
                                                               sale will not result in a lucrative “windfall” to the Buyer at the expense of creditors of the Estate.
                                                          27
                                                               See In re Onouli Kona Land Co., 846 F.2d 1170 (9th Cir. 1988).
                                                          28

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                                                               E.      The Court Should Waive the Stay Imposed by Bankruptcy Rule 6004(h)
                                                           2
                                                                       Pursuant to Rule 6004(h) of the Federal Rules of Bankruptcy Procedure, “[a]n order
                                                           3
                                                               authorizing the use, sale or lease of property other than cash collateral is stayed until the expiration
                                                           4
                                                               of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h).
                                                           5
                                                                       The Trustee’s goal is to efficiently administer the Estate for the benefit of creditors. An
                                                           6
                                                               expedient conclusion to the sale process will inure to the benefit of the Estate and its creditors by
                                                           7
                                                               limiting any continuing liabilities associated with the Property. Waiver of Bankruptcy Rule 6004(h)
                                                           8
                                                               will permit the sale transaction(s) described herein to take place as early as possible under the
                                                           9
                                                               circumstances.
                                                          10
                                                                                                                   IV.
                                                          11
                                                                                                            CONCLUSION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12
                                                                       Based on the foregoing, the Trustee respectfully requests that this Court enter an order:
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                                       1.       Granting the Motion in its entirety;
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                                                          14
                                                                       2.       Approving the terms of the PSA;
                                                          15
                                                                       3.       Authorizing, but not directing, the Trustee to sell the Property, together with any
                                                          16
                                                               ancillary rights and related property, to the Buyer, or an overbidder, “as is,” “where is,” “with all
                                                          17
                                                               faults,” and without warranty or recourse, but free and clear of any and all liens, claims, and
                                                          18
                                                               interests, pursuant to 11 U.S.C. §§ 363(b) and (f);
                                                          19
                                                                       4.       Determining that the Buyer is a “good faith purchaser” pursuant to 11 U.S.C.
                                                          20
                                                               § 363(m);
                                                          21
                                                                       5.       Attaching to the net sales proceeds any unpaid portion of the liens on the Property
                                                          22
                                                               sold in the same value, priority and scope as such liens existed as of the Petition Date;
                                                          23
                                                                       6.       Reserving to the Trustee all rights to object to the validity, scope and priority of all
                                                          24
                                                               disputed liens, claims and interests;
                                                          25
                                                                       7.       Authorizing the Trustee to take any and all necessary actions to consummate the sale
                                                          26
                                                               transactions described herein;
                                                          27
                                                                       8.       Authorizing the Trustee to pay, through escrow, from the proceeds of the sale
                                                          28
                                                               transactions described herein and without further order of the Court, any escrow fees, title insurance

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                                                               premiums and other ordinary and typical closing costs and expenses payable by the Trustee pursuant
                                                           2
                                                               to the PSA or in accordance with local custom;
                                                           3
                                                                       9.       Waiving any requirements for lodging periods of the order approving this Motion
                                                           4
                                                               imposed by any other applicable bankruptcy rules;
                                                           5
                                                                       10.      Waiving the stay of the order approving this Motion imposed by Federal Rule of
                                                           6
                                                               Bankruptcy Procedure 6004(h) and any other applicable rules; and
                                                           7
                                                                       11.      For such other and further relief as the Court may deem just and proper.
                                                           8

                                                           9
                                                               Dated: March 19, 2019                          PACHULSKI STANG ZIEHL & JONES LLP
                                                          10

                                                          11                                                  By: /s/ Malhar S. Pagay
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12                                                  Attorneys for Richard M. Pachulski, Chapter 11
                                                                                                              Trustee
                                                          13
                                LOS ANGELES, CALIFORNIA
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                                                           1
                                                                                            DECLARATION OF RICHARD M. PACHULSKI
                                                           2
                                                                       I, Richard M. Pachulski, declare as follows:
                                                           3
                                                                       1.       I am the duly appointed chapter 11 trustee (the “Trustee”) in the bankruptcy case
                                                           4
                                                               (“Case”) of Layfield & Barrett, APC (“L&B” or the “Debtor”). I also am an attorney duly admitted
                                                           5
                                                               to practice before the courts of the State of California and this Court, among other jurisdictions.
                                                           6
                                                                       2.       I submit this declaration in support of the Motion for Order (1) Authorizing Sale of
                                                           7
                                                               Real Property Free and Clear of All Liens, Claims And Encumbrances Pursuant to 11 U.S.C. §§
                                                           8
                                                               363(b) and (f); (2) Approving Buyer as Good-Faith Purchaser Pursuant to 11 U.S.C. § 363(m); and
                                                           9
                                                               (3) Authorizing Payment of Undisputed Liens and Other Ordinary Costs of Sale (the “Motion”).
                                                          10
                                                               Capitalized terms used but not defined herein shall have the same meanings as set forth in the
                                                          11
                                                               Motion.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12
                                                                       3.       Unless otherwise indicated, all facts set forth in this Declaration are based on either
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                               (a) my personal knowledge (my own or that gathered by others rendering services to the bankruptcy
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                                                          14
                                                               estate who report to me), (b) my review of relevant documents, or (c) my opinion based upon my
                                                          15
                                                               experience and knowledge of the circumstances as described in the Motion. If I were called to
                                                          16
                                                               testify thereto, I could and would competently do so.
                                                          17
                                                                       4.       I understand that, in order to market the Office Suites, my broker, KW, listed them on
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                                                               the predominant listing platforms for the Park City, Utah, commercial market (Park City MLS;
                                                          19
                                                               UtahRealEstate.com) as well as CoStar’s national commercial listing service, provided tours of the
                                                          20
                                                               premises, and, to date, has interacted substantively with approximately 18 prospective buyers and/or
                                                          21
                                                               their agents regarding the potential sale of one or more of the Office Suites (and the Storage Unit).
                                                          22
                                                               KW also provided potential buyers and their representatives with a general term sheet that provides
                                                          23
                                                               guidance to those parties as to preferred sale terms and to assist them in understanding the
                                                          24
                                                               bankruptcy sales process.
                                                          25
                                                                       5.       On February 5, 2019, the Court approved, and on February 22, 2019, we closed, a
                                                          26
                                                               sale transaction relating to Suite 200.
                                                          27
                                                                       6.       As a result of KW’s marketing of the Property, on March 5, 2019, the Buyer and I
                                                          28
                                                               entered into a Purchase and Sale Agreement for Commercial Real Estate, as amended by addenda

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                                                           1
                                                               numbered 1 and 2 (the “PSA”). Among other terms, the PSA provides for the sale of the Property to
                                                           2
                                                               the Buyer for a purchase price of $275,000.00 “subject to … higher and better bids through and
                                                           3
                                                               including the hearing to approve the sale.” A true and correct copy of the PSA is attached hereto as
                                                           4
                                                               Exhibit “A”.
                                                           5
                                                                       7.       Although I previously had received offers to acquire all of the Office Suites and the
                                                           6
                                                               Storage Unit together, such offers: (a) were insufficient in amount to provide material benefit to the
                                                           7
                                                               Estate; (b) expired or were withdrawn after one or more counteroffers were exchanged; (c) were
                                                           8
                                                               from potential buyers who included unacceptable contingencies in their offers or who presented a
                                                           9
                                                               risk of closing a transaction in a timely manner; and/or (d) were not acceptable for other reasons.
                                                          10
                                                               Consequently, I also entertained separate offers for individual Office Suites, leading to the
                                                          11
                                                               consummation of the sale of Suite 200 last month.
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                                                          12
                                                                       8.       To my knowledge, two parties assert liens against the Property: WFB and the office
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                                LOS ANGELES, CALIFORNIA




                                                               condominium owners’ association, TCVOA. In considering the Buyer’s offer to purchase the
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                                                               Property, I determined that satisfying the face amount of such asserted liens, together with taxes,
                                                          15
                                                               brokers’ commissions and other customary costs of sale, likely would result in minimal or no net
                                                          16
                                                               proceeds payable to the Estate. Accordingly, at the hearing regarding the WFB RFS Motion
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                                                               conducted on March 5, 2019, my counsel and counsel for WFB advised the Court that we had
                                                          18
                                                               entered into an arrangement in respect of the proposed transaction with the Buyer, subject to
                                                          19
                                                               facilitation by the Court, whereby WFB agreed to a discounted pay-off amount in exchange for the
                                                          20
                                                               imposition of certain deadlines and conditions and the setting of a hearing regarding this Motion on
                                                          21
                                                               shortened time. Subsequent to the hearing and prior to the filing of this Motion, I entered into an
                                                          22
                                                               agreement with TCVOA also to accept a discounted pay-off amount on account of its asserted lien.
                                                          23
                                                                       9.       As a result of these arrangements, the proposed sale of the Property to the Buyer has
                                                          24
                                                               the consent of the parties asserting liens against the Property, creates a net benefit to the Estate and is
                                                          25
                                                               in the best interests of the Estate and its creditors.
                                                          26
                                                                       10.      I believe that the proposed transaction described in the Motion has the legitimate
                                                          27
                                                               business justification of satisfying claims against and providing value to the Estate. Also, as set
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                                                               forth in the PSA, the sale is subject to overbids, permitting me to consider potentially higher and

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                                                           1
                                                               better offers up to the time of the hearing regarding the Motion, thereby further ensuring that the
                                                           2
                                                               resulting sale of the Property will be at the highest and best price and be in the best interest of the
                                                           3
                                                               Estate.
                                                           4
                                                                         11.    I have not been made aware of any connection between the Buyer or his broker, on
                                                           5
                                                               the one hand, and me, my professionals, the Debtor or its insiders, on the other hand. Negotiations
                                                           6
                                                               regarding the sale of the Property have taken place at arm’s-length directly between my broker, KW,
                                                           7
                                                               and the broker for the Buyer. Moreover, the sale will be conducted in a commercially reasonable
                                                           8
                                                               manner, subject to overbids, following appropriate notice. Based on such facts and circumstances, I
                                                           9
                                                               believe that this Court can properly determine the Buyer as a “good faith purchaser” pursuant to 11
                                                          10
                                                               U.S.C. § 363(m).
                                                          11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12
                                                                         I declare under penalty of perjury under the laws of the United States of America that the
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                               foregoing is true and correct.
                                   ATTORNEYS AT LAW




                                                          14
                                                                         Executed this 19th day of March, 2019, at Los Angeles, California.
                                                          15

                                                          16

                                                          17                                                          Richard M. Pachulski

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                                                                                              DECLARATION OF RANDAL RUPERT
                                                           2
                                                                       I, Randal Rupert, declare:
                                                           3
                                                                       1.       I am employed as a Principal Broker for KW Park City Keller Williams Real Estate
                                                           4
                                                               (“KW”), located at 1750 Sun Peak Drive, Park City, Utah 84098, and am one of the real estate
                                                           5
                                                               agents at KW which the Trustee has employed for the purpose of listing and selling the real property
                                                           6
                                                               known as Units 200, 210 and 220 of Toll Creek Village 2, an office condominium project located at
                                                           7
                                                               2720 Homestead Road, Park City, Utah 84098 (the “Office Suites”).
                                                           8
                                                                       2.       I submit this declaration in support of the Motion for Order (1) Authorizing Sale of
                                                           9
                                                               Real Property Free and Clear of All Liens, Claims And Encumbrances Pursuant to 11 U.S.C. §§
                                                          10
                                                               363(b) and (f); (2) Approving Buyer as Good-Faith Purchaser Pursuant to 11 U.S.C. § 363(m); and
                                                          11
                                                               (3) Authorizing Payment of Undisputed Liens and Other Ordinary Costs of Sale (the “Motion”).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12
                                                               Capitalized terms used but not defined herein shall have the same meanings as set forth in the
                                                          13
                                LOS ANGELES, CALIFORNIA




                                                               Motion.
                                   ATTORNEYS AT LAW




                                                          14
                                                                       3.       Unless otherwise indicated, all facts set forth in this Declaration are based on either
                                                          15
                                                               (a) my personal knowledge (my own or that gathered by others rendering services to KW who report
                                                          16
                                                               to me), (b) my review of relevant documents, or (c) my opinion based upon my experience and
                                                          17
                                                               knowledge of the circumstances as described in the Application. If I were called to testify thereto, I
                                                          18
                                                               could and would competently do so.
                                                          19
                                                                       4.       I am a Utah licensed real estate Broker and I am experienced in selling residential and
                                                          20
                                                               commercial properties. I was first licensed as a Sales Agent in 2006. I have been a Broker since
                                                          21
                                                               2009.
                                                          22
                                                                       5.       I have been involved in real estate investment and management in the State of Utah
                                                          23
                                                               since 2002 and have worked as the Principal Broker for KW Park City Keller Williams Real Estate
                                                          24
                                                               in Park City, Utah, since 2017.
                                                          25
                                                                       6.       In order to market the Office Suites, KW listed them on the predominant listing
                                                          26
                                                               platforms for the Park City, Utah, commercial market (Park City MLS; UtahRealEstate.com) as well
                                                          27
                                                               as CoStar’s national commercial listing service, provided tours of the premises, and, to date, has
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                                                               interacted substantively with approximately 18 prospective buyers and/or their agents regarding the

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                               EXHIBIT A
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                                 ADDENDUM/COUNTEROFFER NO.
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                                                                                                         ONE (1)                TO PURCHASE AGREEMENT
                                                                                                                                                                                               Desc



              ADDENDUM (_X_] COUNTEROFFER [ ] to that PURCHASE AND SALE AGREEMENT FOR
              COMMERCIAL REAL ESTATE (the "PSA") with a Reference Date of February 22, 2019 , including all other
              Addenda and Counteroffers thereto, between Buyer and Seller (as described in the Fundamental Terms) pertaining
              to the following Property:

              This is an Addendum for the purchase ofreal property commonly known as 2720 Homestead Road, Park City, Utah
              84098, Suites 210 (TCVC-2-210) and 220 (TCVC-2-220) (the "Property"), by a buyer (the "Buyer") from Richard
              M. Pachulski, solely in his capacity as the Chapter 11 Trustee for the bankruptcy estate of Layfield &
              Barrett, APC (Bankr. C.D. Cal. Case No. 2: l 7-bk-19548-NB) (the "Seller").

              To the extent the provisions ofthis Addendum modify, amend or conflict with, any provisions ofany other offer,
              counteroffer, addenda or listing regarding the Property, the provisions ofthis Addendum shall control.

                     1.The Seller is Richard M. Pachulski, solely in his capacity as the Chapter 11 Trustee for the
                           bankruptcy estate of Layfield & Barrett, APC. Notices to be given at:
                                 c/o Pachulski Stang Ziehl & Jones LLP
                                10100 Santa Monica Blvd.
                                13th Floor
                                Los Angeles, CA 90067-4003
                                ATTN: Malhar S. Pagay, Esq.
                    2. The Buyer shall have a due diligence period until no later than fifteen (15) days after acceptance ofthis
                           Addendum. After that period, any sale pursuant to this Addendum shall be without any further
                           contingencies on the part ofthe Buyer.
                    3. The purchase price for the Property will be $295,000. The Earnest Money Deposit shall be $29,500
                           which will be deposited in escrow and applied toward the Purchase Price. A cashier's check or wire in
                           that amount, together with an executed copy ofthis Addendum, shall be delivered to the Escrow
                           Company identified below within three (3) business days of acceptance ofthis Addendum by the
                           Buyer.
                    4. The escrow company with respect to the sale ofthe Property is:
                                Summit Title and Escrow (the "Escrow Company")
                                Shellie Wilkins, Escrow Officer
                                Park City, Utah 84098
                                Tel: (435) 658-4889
                                Email: shellie((u,summitescrowandtitle.com

                    5.      The Buyer, at his/her/its sole expense, shall have until 5:00 p.m., prevailing Property local time, fifteen (15)
                                days after acceptance ofthis Addendum (the "Due Diligence Deadline"), to obtain all investigations,
                                appraisals, and tests and complete all due diligence which the Buyer believes to be required for the
                                purchase ofthe Property. The Buyer, at the end ofthat period, may advise the Seller in writing of
                                his/her election to withdraw from this agreement and receive a full refund ofthe Earnest Money
                                Deposit; otherwise, silence shall be deemed as acceptance. After the Due Diligence Deadline but prior
                                to the Seller's filing ofthe motion to approve this Addendum described in the immediately following
                                paragraph, should Buyer withdraw from or otherwise fail to consummate this agreement for any reason
                                other than Seller's withdrawal from the agreement, Buyer shall be entitled to a refund ofthe Earnest
                                Money Deposit less fifty percent (50%) ofthe amount ofthe Earnest Money Deposit, which amount
                                shall become non-refundable and be forfeited to Seller. Thereafter, the provisions ofparagraph 14,
                                hereinbelow, shall apply.
                    6.      Upon removal or waiver ofthe due diligence contingency as set forth in above paragraph, hereinabove, the
                                Seller shall file a motion to approve this Addendum and the transactions described herein with the
                                United States Bankruptcy Court for the Central District ofCalifornia (the "Bankruptcy Court"). The
                                closing shall take place not more than ten (10) days after the entry oforder granting such motion.
                    7.      The Buyer acknowledges that he/she/it is familiar with the Property and that the Buyer has viewed the
                                Property. The Seller and/or Seller's real estate broker have not inspected and will not inspect the
                                Property or determine its condition, fitness or use for any particular purpose nor will provide any
                                written disclosures, guarantees or warranties ofany kind. Seller and Seller's agent are exempt from
                                complying with requirements ofany state laws, ordinances or regulations relating to disclosures upon
                                transfer ofreal property. Seller makes no disclosures in connection with the Property.

                                              Seller's Initia1/i/                     Date�//j                                                     Buyer's Initials ___ Date
             Form Approved 7-12-17                                                                   Page 1 of I
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                     8.     Any sale of the Property shall be "as-is" and "where is" with no warranty or recourse whatsoever. If any
                                 state or local laws, ordinances or regulations require that the Property be brought into compliance
                                 therewith, the Buyer, at its sole expense, shall comply with and pay for these requirements.
                     9.     Transfer of the Property shall be by Fiduciary Quitclaim Deed.
                     10.    The Seller shall convey pursuant to an order of the Bankruptcy Court and the Buyer shall accept the
                                 marketable title to the Property that will be insured through Escrow Company, without material
                                 exception, including free and clear of all liens, subject only to the terms of the within contract of sale.
                     11.    All allowable assessments and real property taxes shall be prorated through the closing date to the
                                 applicable accounts of the Seller and the Buyer. The sale shall be free and clear of any real property
                                 taxes enforceable against the Property through the date of close of the sale. Escrow fees shall be split
                                 between the Buyer and the Seller (50%-50%). The Seller shall pay the costs of a standard issue title
                                 insurance policy. All other costs are at Buyer's expense.
                     12.    The sale is subject to notice to creditors, approval by the Bankruptcy Court, and higher and better bids
                                 through and including the hearing to approve the sale.
                     13.    The Seller is represented by Randal Rupert and Greg Miner of KW Park City Keller Williams Real Estate
                                 ("KW"). A Buyer's broker will be paid up to 3% of the Purchase Price. Subject to Bankruptcy Court
                                 approval, the Seller will pay six (6%) percent of the Purchase Price as brokerage commission to KW
                                 and a Buyer's broker, provided, however, if the Buyer is unrepresented, the brokerage commission will
                                 be reduced from 6% to 3%. No commission shall be due and payable except from the cash proceeds of
                                 an actual sale of the Property to the Buyer.
                     14.    In the event the Buyer fails to perform under this Addendum by reason of the Buyer's
                                 default, Seller may retain the Earnest Money Deposit as liquidated damages.
                                                                                       __ (Buyer's initials).
                    15. Buyer and Seller shall sign escrow instructions in respect of the Property within ten (10) calendar days after
                            acceptance of this Addendum. In the event that Buyer is unable to close escrow within ten (10)
                            calendar days after entry of the Bankruptcy Court order approving the sale of the Property, the Buyer
                            shall compensate the Seller $1,000 per day for an extension of such escrow closing deadline for up to
                            ten (10) calendar days. Thereafter, the Seller shall have absolute discretion to either (a) terminate the
                            sale and retain the Earnest Money Deposit as liquidated damages or (b) provide another extension.
                    16. The Bankruptcy Court shall have jurisdiction to interpret and enforce the terms of this agreement. This
                            agreement shall be construed pursuant to the laws of the State of Utah and the U.S. Bankruptcy Code.
                    17. The Seller may decline, at his option, to consummate the sale of the Property for any reason, including
                            without limitation: (a) the dismissal or closure of the bankruptcy case; (b) the conversion of the
                            debtor's Chapter 11 case to Chapter 7; (c) the inability to obtain approval of the sale by the Bankruptcy
                            Court; or (d) the inability to sell the Property free and clear of liens. The Seller reserves the right, in his
                            sole discretion, to determine not to consummate, and to terminate, the sale of the Property by serving a
                            notice of such termination on the Buyer, the Office of the United States Trustee, and parties who have
                            requested special notice. No liability or obligations shall accrue to the estate or the Seller, either
                            personally or in his capacity as trustee, as a result of any such termination. The Buyer's sole remedy, in
                            the event that escrow fails to close as a result of Seller's inability or unwillingness to close escrow,
                            shall be a refund of the Earnest Money Deposit.




             To the extent the provisions of this Addendum/Counteroffer modify or conflict with any provisions of the PSA or
             any other prior Addenda or Counteroffer, the provisions of this Addendum/Counteroffer shall control. All other
             provisions of the PSA and all other Addenda and Counteroffers not modified by this Addendum/Colmteroffer shall
             remain in full force and effect; provided, however, that to the extent the provisions of any Addendum conflict with
             the provisions of any other Addendum, the Addendum most recently executed by all of the parties will control.

             Buyer or Seller, as applicable, shall have until 5:00 P.M. Mountain Time on ______ to accept or reject,
             and deliver, this Addendum.



             (Signature of Authorized Signer)                                                        (Print Name of Authorized Signer)                                         (Date)


                                               Seller's Initi�K Date t,ftt//f                                                                      Buyer's Initials ___ Date
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                                                                     Main Document    Page 22 of 38

             (Signature of Authorized Signer)                                                         (Print Name of Authorized Signer)                                        (Date)


                                           ACCEPT I REJECTION I COUNTER OFFER
             CHECK ONE
             [ ] ACCEPTANCE: [ ] Seller [ ] Buyer ACCEPTS the foregoing ADDENDUM.
             [ X ] COUNTER OFFER: [ ] Seller [ X ] Buyer presents as a COUNTER OFFER the terms of attached
             Addendum No. TWO (2)
             l ] REJECTION: [ ] Seller [ ] Buyer REJECTS the foregoing ADDENDUM.

                                                                                                      Joseph A Allegretti                                                   3/4/2019

             (Signature of Authorized Signer)                                                         (Print Name of Authorized Signer)                                        (Date)



             (Signature of Authorized Signer)                                                         (Print Name of Authorized Signer)                                        (Date)




                                                                                                                                                   Buyer's Initials _            _
                                                                                                                                                                                 _ _ Date

             Form Approved 7-12-17                                                                   Page 3 of 1
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            PURCHASE AND SALE AGREEMENT FOR COMMERCIAL REAL ESTATE
             This is a legally binding contract. This form has been prepared by counsel for the Utah CCIM Chapter. Parties to this Purchase and Sale
               Agreement for Commercial Real Estate (the "PSA") may agree, in writing, to alter or delete provisions of this PSA. All such changes
              should be reflected in an Addendum. The body of this PSA should not be modified. Seek advice from your attorney and tax advisor
                                                               before entering into a binding contract.

                      OFFER TO PURCHASE COMMERCIAL OR MULTI-FAMILY PROPERTY

          "REFERENCE DATE":                                         February 22 2019
          "SELLER":                    Lav~eld V LLC
                                  ~'Vith Notices to be given at: Street Address                                  1000 N Green Valley Pkwav #440
                                                                                    City, State, Zip Code                       Henderson, NV 89074
                                                                                   Fax, Email
          "BUYER":                     Alle~retti &Company
                                  `'Vith Notices to be given at: Street Address                                  20555 Devonshire St PMB 375
                                                                                    City, State, Zip Code                       Chatsworth, CA 91311
                                                                                    Fax, Email                   ioealle~retti(a~sbcElobal.net

           "PROPERTY": Name/General Description: To be described in escrow.
                                  Address: 2720 Homestead Road Units 210 & 220
                                  City:       Park City                            County:Summit               Utah,Zip:                                                                   84098
                                  County Tax Parcel #:          TCVC-2-210 & TCVC-2-220
                                  Source of legal description (check applicable box):
                                    [ X ]TITLE COMMITMENT(See Section 8(a))
                                    [ ]SURVEY (See Survey Addendum, if applicable)
                                  The Property also includes certain rights and interests described in Section 2.

           "DEED":                 [ X ]General Warranty Deed [ ]Special Warranty Deed [ ]Other

           "TITLE POLICY":                             ~ X ~ Standard Coverage                                                    ~ ~ Extended Coverage

           "PURCHASE PRICE": TWO HUNDRED SEVENTY-FIVE THOUSAivD DOLLARS($275,000.00). This
           Purchase Price represents Buyer's "best and final" offer.
           "EARNEST MONEY DEPOSIT": $                                               TWENTY THOUSAND DOLLARS($20,000.001
           in the form of: [X ]Wire Transfer [ ]Buyer's Check to be deposited with[ ]Buyer's Brokerage [ ]Title
           Company/Escrow Agent [ ]Other            .Buyer agrees to deliver the Earnest Money Deposit no later than five
           (5)Business Days after Acceptance(as defined in Section 23). The Brokerage or Other depository shall deposit the
           Earnest Money into the Real Estate Trust Account no later than five(5) Business Days from receipt.
           "SELLER DISCLOSURE DEADLINE": Five(5)Business Days from the Effective Date (Date)
           "DUE DILIGENCE DEADLINE": Forty-Five(45)Business Days from the Effective Date. (Date)

           "SETTLEMENT DEADLINE": No later than May 28, 2019. If escrow has not closed by May 28, 2019, said
           escrow shall cancel and all deposited monies shall be returned to Buyer. (Date)

           "SELLER'S AGENT / BROKERAGE": Ron Kassan / Beitler Commercial Realty Services
           "BUYER'S AGENT / BROKERAGE": Randal Rupert /Keller ~i'itliams Realty
           °TITLE COMPANY/ESCRO~'V AGENT":                                                         Seller's Choice
           "MEDIATION": Seller and Buyer [ ]DO [ ] DO NOT elect to mediate in accordance with the provisions of
           Section 15.
           ADDITIONAL TERMS: There [ ]ARE[ X ]ARE NOT addenda to this PSA containing additional terms. If
           there are, the terms of the following (each, an "Addendum" or collectively, the "Addenda") are incorporated into
._ ps      this PSA by this reference:

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                                                                                                       ]Other
           [ ]Seller Financing [ ]Financing Contingency [ ] ALTA Survey [ ]Assumption of Financing [ X
           Addendum




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                                                                                      OFFER TO PURCHASE

             1.      OFFER TO PURCHASE. Buyer offers to purchase the Property from Seller for the Purchase Price and
             otherwise upon the terms and subject to the conditions set forth in this PSA. Certain capitalized terms used in this
             PSA are defined in Section 27.

             2.       PROPERTY. Unless excluded by another provision of this PSA or an Addendum or Counteroffer, the
             Property includes: (a) all non-trade fixtures presently attached to the Property;(b) all personal property owned by
             Seller and used prunarily in connection with the Property; (c) Seller's right, if any, in any names or trademarks
             under which the Property is operated, but not including the generic name or trademarks of Seller;(d) all rights and
             easements appurtenant to the Property; and (e) all water rights and/or water shares, if any, that are the source for
             culinary or secondary water used in connection with the Property.

             3.       PAYMENT OF PURCHASE PRICE. Unless the Loan Assumption Addendum or the Seller Financing
             Addendum is part of this PSA, the Purchase Price and all other sums shall be paid by federal funds wire transfer or
             other collected funds at the Closing,

             4.      SETTLEMENT AND CLOSING. Settlement shall take place on the Settlement Deadline or on another
             date upon which the Parties agree in writing.

                      4.1       Settlement. "Settlement' shall be deemed to have occurred only when all of the following have
             been fully completed: (a) Buyer and Seller have signed and delivered to the Escrow Agent all documents required
             by this PSA, by any lender, or by Applicable Law;(b) any monies required to be paid by Buyer under this PSA
             (except for the proceeds of any new loan) have been delivered by Buyer to the Escrow Agent; and (c) any monies
             required to be paid by Seller under this PSA have been delivered by Seller to the Escrow Agent. Seller and Buyer
             shall each pay one-half(1/2) of the fee charged by the Escrow Agent for its services in the Settlement and Closing.
             Taxes and assessments for the current year, collected rents, association dues, utilities and charges accrued under
             contracts relating to the Property and assumed by Buyer, operating expenses relating to the Property and interest on
             any assumed obligations shall be prorated as of 11:59 p.m. on the day prior to Settlement unless otherwise agreed to
             in a settlement statement or other writing executed by the Parties. Tenant deposits (including, but not limited to,
             security deposits and prepaid rents) shall be paid or credited by Seller to Buyer at Settlement.

                      4.2      Closing. "Closing" means consummation ofthe transaction contemplated by this PSA and shall
             be deemed to have occurred only when: (a) Settlement has occurred;(b) the proceeds of any new loan have been
             delivered by the lender to the Escrow Agent; and (c) the applicable Closing documents have been recorded in the
             Official Records of the County Recorder of the County in which the Property is located. If a lender is funding a
             portion of the Purchase Price, loan proceeds must be delivered to Escrow Agent not later than the end of the fifth
             (5'h)Business Day following completion of Settlement or Buyer shall be in default.

             5.       POSSESSION. Seller shall deliver physical possession of the Property to Buyer at Closing or at such
             other date and time as is specified in an Addendum.

             6.      CONFIRMATION OF BROKERAGE FEES AND AGENCY DISCLOSURE. Buyer and Seller each
             acknowledge prior receipt of written agency disclosure provided by their respective Agents that has disclosed the
             agency relationships that are confirmed in the Fundamental Terms. Buyer and Seller further acknowledge that
             brokerage fees due as a result of this transaction are being paid based upon the terms of a separate written
             agreement. If an Agent or Brokerage represents both Seller and Buyer, then he, she or it shall constitute a Limited
             Agent as defined in applicable regulations ofthe Utah Division of Real Estate.

             7.             DEED AND TITLE INSURANCE.

                      7.1     Deed. Seller will convey title to Buyer at Closing by statutory form of Deed specified iYi the
             Fundamental Terms. Buyer agrees to accept title to the Property subject to: (a) the Pei~nitted Exceptions (defined
             below);(b) any lease or property management agreement timely disclosed to Buyer pursuant to Section 8 below and
             not objected to by Buyer prior to the Due Diligence Deadline; and (c) any title exception arising by, through or
             under Buyer.

                       7.2       Title Policy. At Settlement, Seller agrees to pay for the Title Policy specified in the Fundamental
              Terms, in  the  amount  of the Purchase Price insuring title to the Property to Buyer subject only to the Permitted
              Exceptions (the "Title Policy"). Buyer, at its sole option, cost and expense, may elect to obtain additional coverage
              or additional specific endorsements.
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          S.        SELLER DISCLOSURES. No later than the Seller Disclosure Deadline, Seller shall provide to Buyer the
          following, to the extent they are within the possession or control of Seller, and at Seller's sole cost and expense (the
          "Seller Disclosures"):
                    (a)         a title commitment(the "Title Commitment")from a title company selected by Seller (the "Title
          Company"), together with a copy of each instrument, agreement or document listed as an exception to title in such
          Title Commitment;
                    (b)       a Seller property condition disclosure for the Property signed and dated by Seller;
                    (c)       a true and correct copy of all management agreements and contracts affecting the Property;
                    (d)       all copies in Seller's possession of studies and/or reports which have previously been performed in
          connection with or for the Property, including without limitation, environmental reports, soils studies, seismic
          studies, physical inspection reports, site plans and surveys, and identification of such studies of which Seller is
          aware but that are not in Seller's possession;
                    (e)        all copies of written notices relating to a violation of Applicable Law including, without
          limitation, Environmental Law and laws relating to land use, zoning or compliance with building codes;
                    (~         evidence of any water rights and/or water shares used in connection with the Property;
                    (g)        all other documents described as Seller's Disclosures in any Addenda or Counteroffers to this
          PSA;
                    (h)        a true and correct copy of all leases and rental agreements now in effect with regard to the
          Property (the "Leases"), together with a current rent roll (the "Rent Roll"), each certified as correct and complete
           by Seller; and
                    (i)        operating statements of the Property for its last three full fiscal years of operation plus the current
           fiscal year through the last day of the month prior to the Effective Date, certified as correct and complete by the
           Seller or by an independent certified public accountant(the "Operating Statements").
                    (j)        To the Knowledge of Seller, there are no material defects or deficiencies in the design,
           construction, fabrication, manufacture or installation of the improvements to the Property or any part thereof or any
           system, element or component thereof, and all systems elements and components of the Property (including all
           machinery, fixtures and equipment, the roof, foundation and structural elements, and the elevator, mechanical,
           electrical and life safety systems) are in good working order and repair and sound operating condition in all material
           respects except for normal wear and tear.

           9.        BUYER'S DUE DILIGENCE AND RIGHT TO CANCEL. No later than the Due Diligence Deadline,
           Buyer, at its sole cost and expense, shall:(a) conduct such Due Diligence as it deems necessary and appropriate; and
           (b) determine if the results of its Due Diligence are acceptable. The Due Diligence Deadline is subject to extension
           as set forth in any Addendum attached hereto. If, prior to Closing, the Title Company issues a supplemental or
           amended title report showing additional title exceptions (the "Amended Title Commitment'), Due Diligence
           Deadline shall be extended eve (5) Business Days from the date of Buyer's receipt of such Amended Title
           Commitment.

                    9.1       Title and Survey Matters. In conducting its due diligence prior to the Due Diligence Deadline,
           Buyer may review the Title Commitment, Survey and all other Seller Disclosures as referenced in Section 8. Seller
           agrees to cooperate with Buyer in connection with Buyer's Due Diligence investigation by providing additional
           information or documentation reasonably requested by Buyer.
                    (a)       Removal of Monetary Liens. Norivithstanding anything in this PSA to the contrary, unless
           specifically set forth in an Addendum or Counteroffer, Seller covenants and agrees that all Monetary Liens shall be
           removed by Seller at Closing or insured against by the Title Insurer at Seller's sole cost and expense, regardless of
           whether Buyer has objected to such Monetary Lien(s). This provision will survive Closing.
                    (b)       Permitted Exceptions. Those .matters reflected in the Title Commitment to which Buyer does
           not object or agrees to waive following objection; provided however that Permitted Exceptions does not include (i)
           delinquent taxes or assessments, or (ii) deeds of trust, mortgages, judgment liens, mechanics' liens, materialmen's
           liens, and other liens or monetary encumbrances placed on or against tl~e Property.

                     9.2       Inspection. In conducting its Due Diligence prior to the Due Diligence Deadline, and at any time
           thereafter until Settlement, Buyer may, upon reasonable notice and at reasonable times, conduct inspections,
           appraisals and for tests on the Property. Buyer shall enter to conduct such inspections and tests on the Property only
           during reasonable hours and with reasonable prior notice to Seller. Seller shall have the right to accompany Buyer
           and any of its agents on the Property at all times. All inspections and tests shall be conducted in a maruier that does
           not unreasonably disrupt the activities and business of Seller and its tenants, and Buyer shall indemnify, hold
           harmless and defend Seller, its tenants and their employees, invitees and guests from and against any and all
           liabilities, clauns, actions or damages (including reasonable attorneys' fees and court costs) which arise from, are
           caused by, or are in any manner connected with Buyer's Due'Diligence and caused by or arising from the actions of
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            Buyer, including, without limitation, claims for payment for inspection services, claims for mechanic's liens, claims
            for physical damage to the Property and claims arising from personal injury.

                         9.3   Buyer's Right to Cancel or Resolve Objections.
                               (a)      Right to Cancel or Object. If Buyer, in Buyer's sole discretion, determines that the
                                                                                                                                       shall
            results of the Buyer's Due Diligence are not acceptable, then, not later than the Due Diligence Deadline, Buyer
                                                                      to Seller, in which  event  the  Earnest  Money    Deposit   shall  be
            either: (a) cancel this PSA by providing written notice
            released to Buyer; or (b) provide to  Seller one or more  written  notices setting forth  Buyer's   objections  in reasonable
            detail (the "Objections").
                               (b)       Failure to Respond. If Buyer does not timely take either of the actions described in
                                                                                                                                     which
            Section 9.3, then the results of the Buyer's Due Diligence shall be deemed approved by Buyer, all Objections
                                                                                                                or contingency    set  forth
            Buyer could have asserted shall be deemed waived by Buyer and, unless another condition
                                                                                                Deposit   shall  become    nonrefundabl    e
            in an Addendum or Counteroffer remains unsatisfied, the Earnest Money
            except in the event of Seller's default.
                               (c)       Response by Seller. If Buyer timely provides Objections to Seller, Buyer and Seller
                                                                                                                                   to agree
            shall have eve (5) Business Days after Seller's receipt of the Objections (the "Response Period") in which
                                                          the Objections.    Seller  may,  but  shall  not  be  required  to,  resolve   the
            in writing upon the manner of resolving
                                               have  not agreed in writing upon  the  manner   of resolving  the  Objections   prior  to the
            Objections. If Buyer and Seller
                         of
            expiration. the    Response   Period, Buyer   nay cancel  this PSA   by delivering  written   notice  to Seller not  later  than
                                                                                                                                    Earnest
            five (5) Business Days after the end of the Response Period (the "Termination Date"); whereupon the
             Money Deposit shall be released to Buyer and neither Party shall have any further          rights, obligations  or  liabilities
                                                                                                                                         the
            under this PSA except as expressly set forth herein. If this PSA is not canceled by Buyer under this Section,
                                                                                Money   Deposit    shall become    nonrefundabl   e  except
             Objections shall be deemed waived by Buyer and the Earnest
                                                                                                                                    shall be
             upon Seller's default. If the Response Period extends past the Settlement Deadline, the Settlement Deadline
                                                    Business  Days  following   the extended   Termination    Date.   If the Termination
             extended to the date that is five (5)
             Date extends past the Settlement Deadline, the Settlement Deadline shall be extended to the date that is five (5)
             Business Days following such Termination Date.

                      9.4      Estoppel Certificates. For a Commercial Property involving commercial leases, Seller shall
                                                                                                                                     by
            deliver to Buyer, not less than five (5) Business Days prior to the Closing Date, in form reasonably required
                                                                                     Leases,  executed  estoppel agreements    from  all
            Buyer or its secured lender, or in the foam required by the applicable
                                                                                                                               required
            tenants of the Property except as set forth in an Addendum attached hereto. If Seller cannot cause the
            tenants to execute estoppel agreements in a form   reasonably  acceptable   to Buyer   and to Buyer's  lender  at least five
                                                       Date, Buyer  may,  at its sole discretion, extend  the Settlement  Deadline   for
            (5) Business Days prior to the Settlement
                                             to allow Seller additional time  to  obtain the required  estoppel certificates.  If Seller
            up to thirty (30) Business Days
                                                                                                                                  which
            does not obtain the required estoppel agreements, Buyer may terminate the PSA by written notice to Seller, in
            event the Earnest Money Deposit shall be returned to Buyer, and no Party shall have any        further rights, obligations,
            or liabilities under the PSA except as expressly set forth in the PSA, If Buyer does not timely terminate the PSA,
            then Buyer shall be deemed to have waived the provisions of this Section.

            10.      SELLER REPRESENTATIOI~TS AND WARRANTIES. Seller represents and warrants that the
            following statements are true and complete as of the Effective Date and shall be true and complete as of the
                                                                                                                             (1)
            Settlement and Closing. The following representations and warranties shall survive the date of Closing for one
                                                                                                                   in  a court of
            year, and shall terminate and be null and void if or to the extent a legal action has not been filed
            competent jurisdiction prior to the expiration of such one(1) year period:
                     (a)      there is no action, suit, administrative proceeding or other proceeding pending in any court or
            before any arbitrator of any kind or before or by any governmental body or, to Seller's knowledge, threatened
            against Seller and/or the Property which may adversely affect the transaction contemplated by this PSA;
                     (b)       all work which has been or will be performed in, on or about the Property, or materials furnished
            to the Property which might in any circumstances give rise to a mechanic's or materialman's lien (other than relating
                                                                                                                             lien
            to work performed by Buyer), will be paid and all necessary waivers of rights to a mechanic's or materialman's
            for such work will be obtained;
                     (c)       Seller has not received any written notice or citation indicating that the Property is in material
             violation of Applicable Law;
                      (d)       to Seller's knowledge, the consummation of the transactions contemplated by this PSA and the
                                                                                                                                  of
             compliance by Seller with the terms of this PSA do not and will not conflict with or result in a material breach
                                                                                   undertaking, accord, document,  or instrument  to
             any of the terms or provisions of any agreement, arrangement,
             which Seller is a party or by which Seller   or the Property is bound; and
                      (e)       seller is not a "foreign person" as that term is defined in Code Section 1445 and shall deposit with
             Escrow Agent at or prior to Settlement, an affidavit in such form as may be required by the U.S. Internal Revenue


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                                                                                                                                     of
           Service, setting forth Seller's full name, address and taxpayer identification number and stating under penalty
           perjury that Seller is not a "foreign person"  as so defined.
                    (f~       except as set forth in writing, upon delivery and to Seller's knowledge, all copies Seller provides
           to Buyer under Section 8 above are true and correct copies of the originals or copies within Seller's possession.
                    (g)       to the Knowledge of Seller, the Property is in compliance with all Applicable Law.
                    (h)       to the Knowledge of Seller and except as disclosed by environmental reports provided to Buyer,
           no Hazardous Material is present in, on or under the Property or any nearby real property which could migrate to the
                                                                                                                                    the
           Property. Seller has not used the Property or any part thereof, and to its Knowledge no other Person has used
                                                                processing, manufacture,    generation, treatment, handling,   storage,
           Property or any part thereof, for the production,
           transportation or disposal of Hazardous Material while the Property has been owned by Seller;
                    (i)       except as disclosed by Seller in writing: (i) the Leases and all information shown in the Rent Roll
           will be and is accurate and complete;(ii) the Leases are in full force and effect and all rent is accruing without offset
           or deduction; (iii) there are no Persons leasing or, to the Knowledge of Seller, occupying the Property except the
                                                                                                                              the Rent
           tenants described in the Rent Roll; (iv) the Leases have not been amended or modified except as stated in
                                                                                              and no  security deposit or prepaid  rent
           Roll;(v) no monthly rent has been paid more than one(1) month in advance
           has been paid except as stated in the Rent Roll;(vi) no tenant is    entitled to interest on any security deposit; (vii) the
                                                                   premises  and  all improvement   s and construction  required  to be
           tenants have accepted possession of their respective
                                                                been completed;  (viii) no  event has occurred  and no  condition  now
           performed by the landlord under the Leases have
                                                                                                                                default
           exists which, with or without notice or the passage of time, or both, would constitute a material breach or a
           by the landlord or, to the   Knowledge  of Seller, by  any tenant; (ix) no  money   is owed  or will become   owing   to any
                                                                                                                              or  other
           tenant for improvements or otherwise under the Leases; and (x) there are no leasing commissions
                                                                                                             under  any  of the Leases
           commissions, fees or compensation presently owed or which will become due and payable
            or which could become due and payable in the future upon the exercise of any right or option contained in any ofthe
            Leases; and
                    (j)        the Operating Statements delivered to Buyer are correct and complete in all material respects and
                                                                                                                        material
            accurately show and fairly present all income and expenses of the Property for the periods indicated in all
            respects, subject to customary and consistent year-end adjustments.

            11.      NO OTHER REPRESENTATIONS AND WARRANTIES. Except as expressly set forth in this PSA or
            in an Addendum or Counteroffer: (a) Buyer is purchasing the Property, and the Property shall be conveyed and
                                                                                                                                 without
            transferred to Buyer,"AS IS, WHERE IS, AND WITH ALL FAULTS" and specifically and expressly
                                                                                        of      kind,  nature or type  whatsoever  from
            any warranties, representations or guarantees, either express or implied, any
            or on behalf of Seller; and (b).Seller has not, does not and will not, with respect to the  Property, make   any  warranties
                                                                                                                                 to, any
            or representations, express or implied, or arising by operation of law, including, but in no way limited
            warranty of condition or merchantability,    or with respect to the value,  profitability, developabilit y  or marketability
            ofthe Property.
                                                                                                                               as
            12.        CHANGES PENDING CLOSING. Between the Effective Date and the date of Closing, and except
            and to the extent otherwise permitted by an Addendum hereto, Seller shall:
                     (i) comply with all Applicable Law;
                     (ii) continue and maintain all current casualty and liability insurance policies on the Property;
                     (iii) manage, operate, maintain and repair the Property in the ordinary course of business in accordance
                     with sound property management practice and in good repair and working order and condition; and,
                     (iv) keep in force property insurance covering all buildings, structures, improvements, machinery, fixtures
                     and equipment included in the Property insuring against all risks of physical loss or damage, subject to
                     standard exclusions, in an amount equal to the actual replacement cost(without deduction for depreciation)
                      of such buildings, structures, nnprovements, machinery, fixtuc•es and equipment.
            During such period Seller shall not:
                     (i) create or suffer to be created any further Monetary Lien against the Property;
                     (ii) make any substantial alterations or improvements to the Property; or,
                     (iii) except for the usage and storage of normal and customary amounts of Hazardous Material found in
                      cleaning and maintenance supplies stored and used in compliance with Environmental Law, shall not use,
                                                                                                                         Material
                      produce, process, manufacture, generate, treat, handle, store, release or dispose of any Hazardous
                      in, on or under the Property.

                      12.1 Leasing Matters.         Between the effective Date and the date of Closing, and except as and to the
                                                                                                                    all proposed
            extent otherwise permitted by an addendum hereto. Seller shall provide Buyer with copies of any and
            Leases, Lease renewals, Lease modifications and Lease amendments     which  Seller proposes to execute.  Buyer shall
            have no approval rights with respect      to  proposed  Leases, Lease  renewals,   Lease  modification s  and Lease
                                             Diligence   Deadline. From  and after the Due  Diligence  Deadline, Seller  will not
            amendments until after the Due
                                 Lease relating to the Property, or any renewal,  modification  or amendment   of any   currently
            enter into any nev~~
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 ~`~         Form Approved 7-12-17                                                                   Page 6 of 10
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                                                                     Main Document   Page 29 of 38
           existing Leases, without first obtaining Buyer's prior written consent, which consent shall not be unreasonably
           withheld, conditioned or delayed. Unless the Parties otherwise agree in writing; any brokerage commission payable
           with respect to a new Lease, a Lease modification and/or Lease amendment executed after the Due Diligence
           Deadline shall be paid by Buyer; and all tenant improvements required under any Lease (and/or Lease modification
           and/or amendments)executed after the Due Diligence Deadline shall be completed at Buyer's sole cost and expense.

           13.        AUTHORITY OF SIGNERS. If Buyer or Seller is a legal entity rather than an individual, each Person
           executing and delivering this PSA or any Addendum or Counteroffer for it unconditionally and irrevocably warrants
           his or her authority to do so and to bind Buyer or Seller. Each of Seller and Buyer further warrant that the execution
           and delivery of this PSA by it has been duly and validly authorized, and all requisite actions have been taken to
           make this PSA valid, binding and enforceable upon it.

           14.       COMPLETE CONTRACT. This PSA together with any attached Addendwn and Counteroffer, exhibit,
           and Seller Disclosures, constitutes the entire agreement between the Parties regarding the purchase and sale of the
           Property and supersedes and replaces any and all prior negotiations, representations, warranties, understandings or
           contracts between the Parties. This PSA cannot be changed except by written agreement of the Parties. Subject to
           the limitations on assigrunent expressly set forth in any Addendum or Counteroffer, this PSA shall inure to the
           benefit of and be binding on the Parties hereto and their respective heirs, legal representatives, successors and
           assigns.

            15.        MEDIATION. If the Parties have elected to mediate by checking the appropriate box in the Fundamental
            Terms, any dispute relating to this PSA that arises prior to or after Closing shall first be submitted to mediation.
            Mediation is a process in which the Parties meet with an impartial Person who helps to resolve the dispute
            informally and confidentially. Mediators cannot impose binding decisions. The Parties to the dispute must agree in
            writing before any settlement is binding. The Parties will jointly appoint an acceptable mediator and will share
            equally in the cost of such mediation. The mediation, unless otherwise agreed, shall terminate in the event the entire
            dispute is not resolved thirty (30) days from the date written notice requesting mediation is sent by one Party to all
            other Parties. If mediation fails, the other procedures, rights and remedies available to the Parties under this PSA
            shall apply. Nothing in this Section shall prohibit any Party from seeking emergency equitable relief pending
            mediation including, without limitation, an injunction.

            16.        DEFAULT. In the event of a default by Buyer, Seller shall be entitled, as Seller's sole and exclusive
            remedy, to terminate this PSA by written notice to Buyer, in which event the Earnest Money Deposit shall be paid to
            Seller as liquidated damages. In the event of a default by Seller, Buyer shall be entitled, at its option: (a) to
            terminate this PSA by written notice to Seller, in which event the Earnest Money Deposit shall be returned to Buyer
            and Buyer shall be entitled to and agrees to accept from Seller, a sum equal to the Earnest Money Deposit as
            liquidated damages; (b) to enforce Seller's obligations under this PSA by a suit for specific performance; or (c)
            accept a return of the Earnest Money Deposit, or Deposits, if applicable, and pursue any other remedies available at
            law. Upon termination of this PSA by either Party, no Party shall have any further rights, obligations, or liabilities
            hereunder except as expressly set forth in this PSA. The Parties acknowledge and agree that the actual damages
            upon default are uncertain in amount and difficult to ascertain, and that the amount of liquidated damages specified
            in this Section was reasonably determined.

            17.      ATTORNEYS' FEES AND COSTS. In the event of litigation or binding arbitration arising out of this
            PSA, the prevailing Party shall be entitled to costs and reasonable attorneys' fees. Attorneys' fees shall not be
            awarded for participation in mediation under Section 15.

            18.        NOTICES. All notices required under this PSA must be: (a) in writing;(b) signed by the Party giving
            notice; and (c) received by the other Party, the other Party's Agent or the other Party's Brokerage no later than the
            applicable date referenced in this PSA. Notices may be hand delivered, faxed, emailed, delivered by certified mail,
            return receipt requested or by a national overnight courier service such as, but not limited to, Federal Express. If a
            notice is sent by electronic transmission, the burden of proving receipt will be on the sender.

            19.        ABROGATION. Except for the provisions of Sections 5, 7, 9.2, 14 and 15 and any other provisions of
            this PSA which expressly survive the termination of this PSA, the provisions of this PSA shall not be enforceable
            after Closing.

            20.       RISK OF LOSS; EMINENT DOMAIN. All risk of loss to the Property, including physical damage or
            destruction to the Property or its improvements due to any cause except ordinary wear and tear and loss caused by a
  os        taking in eminent domain, shall be borne by Seller until Closing. In the event of any destruction exceeding five
                                                                                                                           of a
 ~~~        percent(5%) of the Purchase Price or any taking or commencement of a taking by any governmental agency

            Form Approved 7-12-17                                                                   Page 7 of 10
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                                                                       Main Document   Page 30 of 38
              material portion of the Property, Buyer may, at Buyer's sole discretion, terminate this PSA by written notice to
              Seller within ten (10) days of notice of the commencement of taking or event of destruction, in which event all the
              Earnest Money Deposit, together with any interest accrued thereon, shall be promptly refunded to Buyer. If Buyer
              does not terminate this PSA, the insurance or condemnation proceeds, or right to collect the same, shall be paid or
              assigned to Buyer at Closing.

              21.        TIME IS OF THE ESSENCE. Time is of the essence regarding the dates set forth in this PSA, and any
              extension of the time for performance of any obligation or satisfaction of any condition must be agreed to in writing
              by all Parties. Unless otherwise explicitly stated in this PSA: performance under this PSA which references a date
              shall absolutely be required by 5:00 P,M. Mountain Time on the stated date. Business Days shall be counted
              (beginning on the day following the event which triggers the timing requirement (i.e., delivery of a specified notice,
              etc.). If the date for performance falls, or the deadline expires on a day which is not a Business Day, performance
              shall be required or the deadline shall expire on the next Business Day thereafter. Performance dates and times
              referenced herein shall not be binding upon title companies, lenders, appraisers and other Persons which are not
              Parties, except as otherwise agreed to in writing by such Persons.

              22.       ELECTRONIC TRANSMISSION AND COUNTERPARTS. Facsimile (fax) or Email transmissions
              of a signed copy of this PSA, any Addenda and Counteroffers thereto, and the retransmission of any signed fax or
              Email shall be the same as delivery of an original, subject to confirmation of receipt by the other party hereto. This
              PSA and any Addenda and Counteroffers thereto may be executed in counterparts.

              23.        ACCEPTANCE. "Acceptance" occurs when Seller or Buyer, responding to an offer or counteroffer of
              the other:(a)signs the offer or counteroffer where noted to indicate acceptance; and(b)delivers to the other Party or
              to the other Party's Agent or Brokerage written acceptance of the offer or counteroffer by hand delivery, fax, email,
              delivery by certified mail, return receipt requested or by a national overnight courier service such as, but not limited
              to, Federal Express. The burden of proving delivery will be on the sender.

              24.      DEADLINES. Buyer and Seller agree that Seller Disclosure Deadline, the Due Diligence Deadline and
              Settlement Deadline are as set forth in the Fundamental Terms, as modified by any Addendum hereto.

              25.       TAX DEFERRED EXCHANGE. Each Party shall cooperate with the other Party in effecting a tax
              deferred exchange under the I.R.S. Code; provided however, that the other Party's cooperation shall be conditioned
              on the following:(a)the exchange will be at no additional liability and cost to the other Party;(b)the exchange will
              not delay Settlement or Closing; and (c) the other Party shall not be required to acquire title to any proposed
              exchange properties to accommodate an exchange. Except in cases of Default by anon-exchanging party, the
              exchanging Party hereby indemnifies and agrees to defend and hold the other Party harmless from and against any
              and all clauns, demands, costs and expenses which the other Party may sustain or incur resulting from the attempt by
              the exchanging Party to consmnmate the sale or acquisition ofthe Property as a tax deferred exchange.

              26.      JOINT PREPARATION. The provisions of this PSA have been negotiated by all Parties hereto and
              should therefore not be interpreted or construed in favor of or with prejudice against any particular Party, but in
              accordance with the general tenor ofthe language used.

              27.       DEFINITIONS. Certain capitalized tei~rns previously used in this PSA are defined above. In addition to
              those capitalized terms, the following capitalized terms shall have the following meanings:

                              "Agent" means Buyer's Agent or Seller's Agent, as applicable.

                        "Applicable Law" shall mean and include any and all laws, rules, regulations ar ordinances of any
               governmental authority having jurisdiction over a specified matter, as the same may be in effect from time to time,
               including, without limitation, any Environmental Law.

                              "Brokerage" means Buyer's Brokerage or Seller's Brokerage, as applicable.

                         ~~Business Day" shall mean any day other than a Saturday, Sunday, or legal holiday on which national
               banks in Utah are authorized by federal law to close.

                         "Code" shall mean the Internal Revenue Code of 1986, as amended, and the regulations issued
               thereunder•.


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                                                                                                                               have concerns about the veracity of the copy with which you are working go [o
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                     "Counteroffer" means a Counteroffer signed by the Party making the Counteroffer to this PSA, and
            which Counteroffer will be attached to this PSA as an addendum.

                            `Deed" means the form of Deed checked in the appropriate box on page 1 of this PSA in the Fundamental
            Terms.

                     "Due Diligence" means such investigations of and tests on or regarding the Property as Buyer deems
            necessary and appropriate.

                     "Effective Date" means the date both Seller and Buyer have executed this PSA and accepted
            Counteroffers and Addenda, as applicable.

                       "Environmental La~v" shall mean any federal, state, or local ]aw, statute, ordinance, rule, or regulation
            pertaining to health, industrial hygiene, or the environmental conditions on or under the Property, or relating to
            releases, discharges, emissions, or disposals fi•om the Property to air, water, soil, or groundwater, or relating to the
            withdrawal or use of groundwater, or relating to the use, handling, or disposal of polychlorinated biphenyls,
            asbestos, or urea formaldehyde, or relating to the treatment, disposal, storage, or management of Hazardous
            Materials or relating to the transportation, storage, disposal, or management, including, without limitation, the
            Comprehensive Environmental Response Compensation, and Liability Act of 1980, as amended, and the Resource
            Conservation and Recovery Act of 1976, as amended, and all rules, and regulations, published pursuant thereto or
            promulgated thereunder.

                     "Fundamental Terms" means the Fundamental Terms of Offer to Purchase set forth on page 1 of this
            PSA as modified by an accepted Counteroffer or Addendum.

                      "Hazardous Material" shall mean and include, without limitation: (a) those substances included within
            the definitions of "hazardous substances" and "hazardous waste" in any Environmental Law; and (b) any
            material, waste, or substance which is or contains asbestos, polychlorinated biphenyls, petroleum and its derivative
            by-products, and other explosive or radioactive materials.

                      "Knowledge" means the actual knowledge of a Party and imposes a duty to investigate the applicable
            files and records but without a duty of further inquiry. The knowledge of a specific person may be set forth in an
            Addendum, if desired.

                            "Lease" shall have the meaning set forth in Section 8(h).

                    "AZonetary Liens" means each of the following to the extent arising by, through or under Seller:
            judgment liens, mortgages, deeds of trust, mechanic's liens, pre-construction liens, liens that secure the payment of
            money or credit, and liens or charges for delinquent taxes.

                            "Operating Statements" shall have the meaning set forth in Section 8(i).

                            "Parties" means Seller and Buyer.

                            "Party" means Seller or Buyer.

                            "Permitted Exception" has the meaning set forth in Section 9.1(b).

                      "Person" means any natural individual human, any legal entity, a trust or the trustees of a trust acting in
            such capacity.

                             °Reference Date" means the date set forth in the Fundamental Terms on which the offer was prepared.

                     "Title Comi~iitinent" means a commitment issued by the Title Insurer for the Title Policy insuring the
            Owner's title in the Property in the full amount ofthe Purchase Price.

                            "Title Policy" means a standard 2019 ALTA Owner's Policy of Title Insurance issued by the Title
            Insurer.

            OFFER AND TIME FOR ACCEPTANCE. Buyer offers to purchase the Property on the above terms and
            conditions. If Seller does not accept and deliver an acceptance of this Offer by 5:00 P.M. Mountain Time on Fridav,
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           March 1, 2019 this Offer shall lapse, and the Buyer's .Brokerage or Escrow Agent, as applicable, shall return the
           Earnest Money Deposit to Buyer.

           If Buyer is an individual or individuals:
              DocuSignedby:                               `
                                                                                                                                                                         Z~Z2~2~19
          t              Q*                                                                         Joseph All~retti
          ~         tnnra~~~aBuyer)                                                                 (Print Name of Buyer)                                                    (Date)



          (Signature of Buyer)                                                                      (Print Name of Buyer)                                                    (Date)

           If Buyer is an entity:

          AI1e~retti &Company
          (Print Name of Entity)                                                                    (Date)

                                                                     A California corporation
                                                                           of Fortr~ation
                                                                     (StateocuSfgned      and Type of Entity)
                                                                         y~          y:
                                                                                             G~,.                           `.
                                                                              8843s~~re                of Authorized Signer)

                                                                      Name: Josh Alle~retti
                                                                            (Print Name of Authorized Signer)

                                                                      Its:          COO
                                                                                    (Print Position of Signer)




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                                                              ACCEPTANCE/COUNTEROFFER/REJECTION

           CHECK ONE:

           [ ] ACCEPTANCE OF OFFER TO PURCHASE: Seller accepts the foregoing offer on the terms and
               conditions specified above.

                   COUNTEROFFER: Seller presents for Buyer's acceptance the teens of Buyer's offer subject to the
                   exceptions or modifications as specified in the attached Addendum No,~_.

           [ ] REJECTION

            If Seller is an zzvidual                     ~dividuals•
                       ..~    ~
               ~~          e                                          ~                                                                                                `~ ~~~
                                                                                                   Richard M.Pachulski
           (Signature of Seller)                                                                   (Print Name of Seller)                                                (Date)


           (Signature of Seller)                                                                   (Print Name of Seller)                                                    (Date)

            If Seller is an entity:


            (Print Name of Entity)                                                                 (Date)


                                                                      (State of Formation and Type of Entity)


                                                                                     (Signature of Authorized Signer)

                                                                       Name: Richard M.Pachulski
                                                                             (Print Name of Authorized Signer)

                                                                       Its:
                                                                                     (Print Position of Signer)




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                         CCIM~Chapter         Main Document     Page                                                         34 of 38
                                                                          EARNEST R'IONEY RECEIPT
                                                                    (to be used if requested by Buyer or Seller)

           The Buyer's Brokerage or Escrow Agent, as applicable, acknowledges receipt ofthe Earnest Money Deposit in the
           amount of$


           (Date)                                                                   (Print Name of Brokerage or Title Company)

                                                                                    I~
                                                                                            (Signature above acknowledges receipt of Earnest Money Deposit)


                                                                                     Name:
                                                                                                   (Print Name of Signer)


                                                                                     Its:
                                                                                                   (Print Position of Signer)




                                              Seller's Initials                      Date                                                           Buyer's Initials                        Date

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                                                                                    DOCUMENT RECEIPT

          State law requires Brokerage or Agent to furnish Buyer and Seller with copies of this PSA bearing all signatures.
          This document should be made part of the closing documents and signed prior to Settlement. (Fill in applicable
          Section below.)

          A. I acknowledge receipt of a final copy ofthe foregoing PSA bearing all signatures:



          (Signature of Buyer's Authorized Signer)                                                (Print Name of Authorized Signer)                                         (Date)




          (Signature of Seller's Authorized Signer)                                               (Print Name of Authorized Signer)                                          (Date)

          B. I personally caused a final copy of the foregoing PSA bearing all signatures to be[ ]faxed [ ]Emailed [
          mailed
          [ ]hand delivered on                              (Date), postage prepaid, to the[ ]Seller [ ]Buyer.

           Sent/Delivered by (specify):



          (Signature)                                                                              (Print Name of Signer)                                                    (Date)




                                             Seller's Initials                      Date                                                           Buyer's Initials                       Date

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): MOTION FOR ORDER (1)
AUTHORIZING SALE OF REAL PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS AND
ENCUMBRANCES PURSUANT TO 11 U.S.C. §§ 363(B) AND (F); (2) APPROVING BUYER AS
GOOD-FAITH PURCHASER PURSUANT TO 11 U.S.C. § 363(M); AND (3) AUTHORIZING
PAYMENT OF UNDISPUTED LIENS AND OTHER ORDINARY COSTS OF SALE;
MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATIONS OF RICHARD M.
PACHULSKI AND RANDAL RUPERT IN SUPPORT THEREOF will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 19, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) March 19, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 19, 2019 Sophia L. Lee                                                                /s/ Sophia L. Lee
 Date                   Printed Name                                                         Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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        Case 2:17-bk-19548-NB                  Doc 419 Filed 03/19/19 Entered 03/19/19 16:46:58                                      Desc
                                                Main Document    Page 37 of 38
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Mailing Information for Case 2:17-19548

       Wesley H Avery wes@averytrustee.com, lucy@averytrustee.com;alexandria@averytrustee.com
       Jason Balitzer jbalitzer@sulmeyerlaw.com,
        jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
       Moises S Bardavid mbardavid@hotmail.com
       Daniel I Barness daniel@barnesslaw.com
       James W Bates jbates@jbateslaw.com
       Darwin Bingham cat@scalleyreading.net
       Martin J Brill mjb@lnbrb.com
       William S Brody wbrody@buchalter.com, dbodkin@buchalter.com;IFS_filing@buchalter.com
       Glenn R Bronson grb@princeyeates.com, carolp@princeyeates.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Jennifer Witherell Crastz jcrastz@hrhlaw.com
       Beth Gaschen bgaschen@wgllp.com,
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       Jeffrey I Golden jgolden@wgllp.com,
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